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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

TIMOTHY BARTON,                                §
    Appellant,                                 §
                                               §
v.                                             §
                                               §             CAUSE NO 4:24-cv-00863-P
COURTNEY C. THOMAS, Receiver,                  §
DIXON WATER FOUNDATION, and                    §
LUMAR LAND & CATTLE, LLC,                      §
    Appellees.                                 §

                     TIMOTHY L. BARTON’S NOTICE OF APPEAL

          Pursuant to Federal Rule of Appellate Procedure 3, notice is hereby given that

 Timothy Barton hereby appeals to the United States Court of Appeals for the Fifth

 Circuit from the Final Judgment (ECF No. 25) with accompanying Memorandum

 Opinion & Order (ECF No. 24 and 24) entered in this action on February 4, 2025.

          Respectfully submitted on March 4, 2025,

          /s/Warren V. Norred
          Warren V. Norred, Texas Bar Number: 24045094, warren@norredlaw.com
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          O: (817) 704-3984; F: (817) 524-6686


                             CERTIFICATE OF SERVICE

         I certify that on March 4, 2025, I filed the preceding document and its
 attachments using the Court’s CM/ECF filing service, which will send notice of the
 filing to all parties seeking service in this action.

                                          /s/Warren V. Norred
                                          Warren V. Norred




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